 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT
Eastern District of Wisconsin

In the Matter of the Search of:

Records and information associated with the cellular
device assigned (773) 569-9645 that is in the custody
or control of Locus Telecommunications, LLC, a
wireless communications service provider that is
headquartered at 2200 Fletcher Avenue Suite 600,
Fort Lee, NJ 07024.

Case No. ZO “KI (MENS)

APPLICATION FOR A SEARCH WARRANT

 

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of

perjury that J have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:
See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
XX] evidence of a crime;
LC contraband, fruits of crime, or other items illegally possessed;
ZC property designed for use, intended for use, or used in committing a crime;
CZ a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: Title 21, United States Code, Section 841(a)(1)

The application is based on these facts: See attached affidavit.

XX] Delayed notice of days (give exact ending date if more than 30 days:__ August 3, 2020 ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Kathrin 1. Ktty

Applicant's signature

FBI Special Agent Kathrine L. Kelley

 

Printed Name and Title
Sworn to before me and signed in my presence:
Date: 3 2 22 oo 2 fi
t U ? JudgXsSiggature

City and State: Milwaukee Wisconsin! COC9®- NI Filed 02/1150. i § Joh? Documents, Magistrate Judge

 

Printed Name and Title
AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Kathrine L. Kelley, being first duly sworn, hereby depose and state as

follows:
INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant
under Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2708(c)(1)(A) for
information about the location of the cellular telephone assigned call numbers (773)
569-6945 (“Target Cell Phone #1”) and (312) 568-6998 (“Target Cell Phone #2).
Target Cell Phone #1 has no subscriber information, but is known to be used by
CURLEE J. ASHFORD (date of birth: XX/XX/1966), whose service provider is Locus
Telecommunications, LLC, (the “Service Provider”) a wireless telephone service
provider headquartered in Fort Lee, New Jersey. Target Cell Phone #2, having
subscriber Juan Gonzalza, but is known to be used by CURLEE J. ASHFORD,
whose service provider is Sprint, (the “Service Provider”) a wireless telephone
service provider headquartered in Overland Park, Kansas. Target Cell Phone #1
and Target Cell Phone #2 are described herein and in Attachment A, and the
location information to be seized is described herein and in Attachment B.

2. Because this warrant application seeks the prospective collection of
information, including cell-site location information, that may fall within the
statutory definitions of information collected by a “pen register” and/or “trap and

trace device,” see 18 U.S.C. § 3127(8) & (4), I also make this affidavit in support of
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an application by the United States of America for an order pursuant to 18 U.S.C

§§ 3122 and 3123, authorizing the installation and use of pen registers and trap and
trace devices (“pen-trap devices”) to record, decode, and/or capture dialing, routing,
addressing, and signaling information associated with each communication to or
from the Target Cell Phone #1 and Target Cell Phone #2.

3. I am a Special Agent with the FBI and have been since May of 2019. I
have been assigned to the Southeastern Wisconsin Regional Gang Task Force since
October of 2019. Prior to being employed as a Special Agent with the FBI, I was
employed as a Staff Operations Specialist for the FBI for approximately nine years.
I am an investigator or law enforcement officer of the United States within the
meaning of 18 U.S.C. Section 2510(7), in that I am empowered by the law to conduct
investigations of and to make arrests for federal felony arrests.

A. As a Special Agent, I have participated in the investigation of
narcotics-related offenses, resulting in the seizure of illegal drugs, weapons, United
States currency, and other evidence of criminal activity. As a narcotics investigator,
I have interviewed individuals involved in drug trafficking and have obtained
information from them regarding acquisition, sale, importation, manufacture, and
distribution of controlled substances. Through my training and experience, | am
familiar with the actions, habits, traits, methods, and terminology utilized by the
traffickers and abusers of controlled substances. I have participated in several
aspects of drug investigations, including physical surveillance, execution of search

warrants, undercover operations, court-ordered wiretaps, analysis of phone and

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financial records, and the arrests of numerous drug traffickers. Additionally, I have
spoken with other experienced narcotics investigators on numerous occasions
concerning the method and practices of drug traffickers and money launderers.
Through these investigations, my training and experience, and conversations with
other law enforcement personnel, I have become familiar with the methods used by
drug traffickers to manufacture, smuggle, safeguard, and distribute narcotics, and
to collect and launder trafficking-derived proceeds. I am further aware of the
methods employed by major narcotics organizations to thwart any investigation of
their illegal activities. I know that drug traffickers commonly have in their
possession, and at their residences and other locations where they exercise
dominion and control, firearms, ammunition, and records or receipts pertaining to
such.

5. The facts in this affidavit come my personal observations, my training
and experience, my review of documents, and information obtained from other law
enforcement agents and witnesses. This affidavit is intended to show merely that
there is probable cause for the requested warrant and does not set forth all of my
knowledge about this matter.

6. Based on the facts set forth in this affidavit, there is probable cause to
believe that violations of Title 21, Untied States Code, Sections 841(a)(1)
(distribution of and possession with the intent to distribute controlled substances)
have been committed, are being committed, and will be committed by CURLEE J.

ASHFORD (XX/XX/1966). There is also probable cause to believe that the location
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information described in Attachment B will constitute evidence of these criminal
violations and will lead to the identification of other individuals who are engaged in
the commission of these offenses.

7. The court has jurisdiction to issue the proposed warrant because it is a
“court of competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the
Court is a district court of the United States that has jurisdiction over the offense
being investigated, see 18 U.S.C. § 2711(8)(A)Q).

PROBABLE CAUSE

8. The United States, including the FBI and the FBI’s Southeastern
Wisconsin Regional Gang Task Force, are conducting a criminal investigation of
CURLEE J. ASHFORD regarding possible violations of Title 21, United States
Code, Section 841(a)(1) (distribution of and possession with intent to distribute
controlled substances).

9. In October of 2019, case agents interviewed a confidential source (CS
#1). CS #1 stated “BUG” is a Gangster Disciple gang member with ties to Chicago,
Illinois. CS #1 indicated “BUG” sells heroin from his apartment, which is located at
834 N. 34th Street Apt. 203. Additionally, CS #1 stated “BUG” holds at least 100
grams of heroin at a time. CS #1 advised s/he could make a controlled buy of heroin
from “BUG.”

10. Based upon my training and experience, I know that a “controlled buy”
(and/or controlled contact) is a law enforcement operation in which a confidential

source purchases drugs from a target. The operation is conducted using

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surveillance, usually audio and video taping equipment, and pre-recorded purchase
money. When a confidential source is used, s/he is searched for contraband,
weapons, and money before the operation. The confidential source is also wired with
a concealed body recorder and monitoring device. When the transaction is
completed, the confidential source meets cases agents at a pre-determined meet
location and gives the purchased drugs and the recording/monitoring equipment to
the case agents. The confidential source is again searched for contraband, weapons,
and money. A sample of the suspected drugs is then field tested by case agents for
the presence of controlled substance and then placed in inventory pursuant to
normal inventory procedures. Telephone calls to the target by the confidential
source are consensually recorded calls under the direction and control of case agents
and made in the presence of case agents.

11. On October 18, 2019, case agent showed a single Milwaukee Police
Department booking photograph of CURLEE J. ASHFORD (DOB: XX/XX/1966) to
CS #1. The photograph was unlabeled and contained no identifying information.
CS #1 positively identified the photograph as the person CS #1 knew as “BUG.”

12. Case agents believe CS #1 is reliable and credible. First, CS #1 has
provided information since October 2019. Second, CS #1’s information is consistent
with case agent’s knowledge of violent gang subjects in Milwaukee, Wisconsin.
Furthermore, substantial portions of CS #1’s information has been corroborated by
controlled drug purchases, money deliveries, and consensually recorded phone calls

with ASHFORD, as well as through independent investigation, including
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surveillance and information from other sources. CS #1 is cooperating with law
enforcement to obtain consideration from the Milwaukee County District Attorney’s
Office for pending charges related to narcotics trafficking. CS #1 is a convicted felon
with prior obstruction, carrying a concealed weapon, and possession and
distribution of narcotics convictions. For these reasons, case agents believe CS #1 to
be reliable.

13. On December 18, 2019, case agents interviewed CS #1. CS #1 stated
s/he bought heroin from “BUG” between thirty-seven to forty times over the last five
years. CS #1 stated s/he purchased approximately twenty-five to fifty grams of
heroin each time. In addition, CS #1 stated s/he purchased larger quantities, over
100 grams, of heroin on two occasions. Additionally, CS #1 stated “BUG” keeps the
heroin in the oven of his apartment and has seen guns in “BUG’s” apartment.
According to CS #1, “BUG” obtains his heroin from his supplier, “MAGGIE,” from
Chicago, Illinois. CS #1 stated “MAGGIE” sometimes delivers the heroin to “BUG”
in Milwaukee, Wisconsin when “BUG” needs a larger supply, over 100 grams, of
heroin. CS #1 provided phone numbers of (773) 569-9645, or Target Cell Phone
#1, and (312) 568-6998, or Target Cell Phone #2, for “BUG.”

14. On January 9, 2020, case agents utilized CS #1 to conduct a controlled
purchase of cocaine from “BUG.” CS #1 made a consensually recorded phone call to
the Target Cell Phone #1. “BUG” answered the phone and CS #1 and “BUG”
discussed meeting. “BUG” stated he would be ready in twenty minutes. Next, case

agents provided CS #1 with a recording device and a total of $1,000 pre-recorded

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money for the controlled purchase, and then established surveillance in the meet
location of 2100 N. 34th Street, Milwaukee, Wisconsin. CS #1 drove to and parked in
the alley of 2100 N. 34th Street, Milwaukee, Wisconsin. Surveillance observed a
two-toned silver and blue older Ford pickup truck pull into the alley and park
behind CS #1’s vehicle. CS #1 exited the vehicle and walked to the driver side door
of the Ford pickup truck, where CS #1 remained for only a short period of time. CS
#1 got back into his/her vehicle and drove off. Surveillance observed the Ford
pickup truck remain at the location and identified an additional suspected drug
transaction take place with another individual at the front passenger door of the
Ford pickup truck. Case agents believe “BUG” sold narcotics to the other
individual.

15. After the transaction, case agents met with CS #1 and seized the
heroin and the recording device. CS #1 also provided the case agents with $20 from
the drug purchase as s/he had calculated the amount of narcotics should only cost
$980, not $1,000. Case agents field tested the heroin with positive results for heroin
and fentanyl and weighed approximately 15.09 grams.

16. After the controlled purchase, CS #1 was briefed. CS #1 stated s/he
parked in the alley in the area of 2100 N 34 Street, Milwaukee, Wisconsin and
waited for “BUG.” CS #1 contacted “BUG” over the phone as “BUG” was taking a
long time to arrive. While waiting for “BUG,” CS #1 stated another individual
arrived in the alley as “BUG” pulled up in his truck. CS #1 got out of his/her vehicle

and walked to the driver’s side door of “BUG’s” truck. CS #1 gave $980 in pre-

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recorded law enforcement funds to “BUG.” In exchange, “BUG” gave CS #1 the
narcotics. CS #1 stated “BUG” kept the narcotics on his lap.

17. Case agents reviewed the recording from the recording device utilized
by CS #1 to confirm his/her purchase of heroin on January 9, 2020 from “BUG.”

18. On January 9, 2020, a case agent showed a single Milwaukee Police
Department booking photograph of CURLEE J. ASHFORD (DOB: XX/XX/1966) to
CS #1. The photograph was unlabeled and contained no identifying information.
CS #1 positively identified the photograph as the person CS #1 knew as “BUG” and
the person that sold CS #1 the heroin on January 9, 2020.

19. On January 22, 2020, case agents utilized CS #1 to conduct a
controlled purchase of heroin from “BUG.” CS #1 made a consensually recorded
phone call to the Target Cell Phone #2. “BUG” answered the phone and “BUG”
and CS #1 discussed meeting at “BUG’s” place. CS #1 told “BUG” to meet at a
different location and they both agreed. Shortly after the terminated call, CS #1
made another phone call to the Target Cell Phone #2 and informed “BUG” CS #1
would meet at “BUG’s” apartment instead. Next, case agents provided CS #1 with a
recording device and pre-recorded money for the controlled purchase and then
established surveillance in the area. CS #1 drove, while being followed by case
agents, to the address of 834 N. 35 Street, Milwaukee, Wisconsin. Surveillance
observed CS #1 make a U-turn and park south of the address of 834 N. 354 Street,
Milwaukee, Wisconsin. CS #1 exited the vehicle and walked to the front door of the

listed address. CS #1 waited outside the entry door for a short time before s/he was

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let in the front door. After approximately seven minutes, surveillance observed CS
#1 exit the entry door, walk to CS #1’s vehicle, and leave the location. Surveillance
followed CS #1 to the meet location. At the meet location, the case agents met with
CS #1 and seized the heroin and the recording device. Case agents field tested the
heroin with positive results for opiates and fentanyl and weighed approximately
45.49 grams.

20. After the controlled purchase, CS #1 was briefed. CS #1 stated s/he
drove to the address of 834 N. 35th Street, Milwaukee, Wisconsin, parked, and
walked to the main entry. CS #1 called “BUG” to let him/her into the building.
“BUG” came to the door and let CS #1 in. CS #1 stated they took the elevator up to
“BUG’s” apartment. “BUG” provided CS #1 with the prepackaged narcotics, and in
exchange, CS #1 provided “BUG” with the money. CS #1 then left the apartment,
got in the vehicle, and drove to the meet spot.

21. Case agents reviewed the recording from the recording device utilized
by CS #1 to confirm his/her purchase of heroin on January 22, 2020 from “BUG.”

22. Subpoenaed telephone records for the Target Cell Phone #1 revealed
Locus Telecommunications, LLC had no subscriber information for the number.
However, CS #1 has contacted ASHFORD at this phone number to purchase
narcotics in the past. Toll analysis of the Target Cell Phone #1 revealed the
Target Cell Phone #1 had contact with CS #1’s phone number 77 times between

September 30, 2019 and December 30, 2019.

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23. Subpoenaed telephone records for the Target Cell Phone #2 revealed
Sprint had subscriber Juan Gonzalza, however CS #1 has contacted ASHFORD at
this phone number to purchase narcotics in the past. Toll analysis of the Target
Cell Phone #2 revealed the Target Cell Phone #2 had contact with CS #1’s phone
number six times on December 18, 2019.

24. Case agents searched law enforcement databases to confirm that
Target Cell Phone #1 is currently being serviced by Locus Telecommunications,
LLC.

25. Case agents are requesting this warrant authorizing the disclosure of
data related to the Target Cell Phone #1 and Target Cell Phone #2 for 30 days
to further investigate ASHFORD’s activities, and to identify locations to which
ASHFORD is traveling to further his drug distribution.

26. In my training and experience, I have learned that the Service
Provider is a company that provides cellular communications service to the general
public. I also know that providers of cellular communications service have technical
capabilities that allow them to collect and generate information about the locations
of the cellular devices to which they provide service, including cell-site data, also
known as “tower/face information” or “cell tower/sector records.” Cell-site data
identifies the “cell towers” (i.e., antenna towers covering specific geographic areas)
that received a radio signal from the cellular device and, in some cases, the “sector”
(i.e., faces of the towers) to which the device connected. These towers are often a

half-mile or more apart, even in urban areas, and can be 10 or more miles apart in

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rural areas. Furthermore, the tower closest to a wireless device does not
necessarily serve every call made to or from that device. Accordingly, cell-site data
provides an approximate general location of the cellular device.

Cell-Site Data

27. Based on my training and experience, I know that the Service Provider
can collect cell-site data on a prospective basis about Target Cell Phone #1 and
Target Cell Phone #2. Based on my training and experience, I know that for each
communication a cellular device makes, its wireless service provider can typically
determine: (1) the date and time of the communication; (2) the telephone numbers
involved, if any; (3) the cell tower to which the customer connected at the beginning
of the communication; (4) the cell tower to which the customer was connected at the
end of the communication; and (5) the duration of the communication. I also know
that wireless providers such as the Service Provider typically collect and retain cell-
site data pertaining to cellular devices to which they provide service in their normal
course of business in order to use this information for various business-related
purposes.

28. Based on my training and experience, I know that Sprint also can
collect per-call measurement data, which Sprint also refers to as the “real-time tool”
(“RTT”). RTT data estimates the approximate distance of the cellular device from a
cellular tower based upon the speed with which signals travel between the device
and the tower. This information can be used to estimate an approximate location

range that is more precise than typical cell-site data.

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E-911 Phase IIT / GPS Location Data

29. Iknow that some providers of cellular telephone service have technical
capabilities that allow them to collect and generate E-911 Phase II data, also known
as GPS data or latitude-longitude data. E-911 Phase II data provides relatively
precise location information about the cellular telephone itself, either via GPS
tracking technology built into the phone or by triangulating on the device’s signal
using data from several of the provider’s cell towers. As discussed above, cell-site
data identifies the “cell towers” (i.e., antenna towers covering specific geographic
areas) that received a radio signal from the cellular telephone and, in some cases,
the “sector” (i.e., faces of the towers) to which the telephone connected. These
towers are often a half-mile or more apart, even in urban areas, and can be 10 or
more miles apart in rural areas. Furthermore, the tower closest to a wireless device
does not necessarily serve every call made to or from that device. Accordingly, cell-
site data is typically less precise that E-911 Phase II data. Based on my training
and experience, I know that the Service Provider can collect E-911 Phase IT data
about the location of Target Cell Phone #1 and Target Cell Phone #2, including
by initiating a signal to determine the location of Target Cell Phone #1 and
Target Cell Phone #2 on the Service Provider’s network or with such other
reference points as may be reasonably available.

Pen-Trap Data
30. Based on my training and experience, I know each cellular device has

one or more unique identifiers embedded inside it. Depending on the cellular

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network and the device, the embedded unique identifiers for a cellular device could
take several different forms, including an Electronic Serial Number (“ESN”), a
Mobile Electronic Identity Number (“MEIN”), a Mobile Identification Number
(“MIN”), a Subscriber Identity Module (“SIM”), a Mobile Subscriber Integrated
Services Digital Network Number (““MSISDN’), an International Mobile Subscriber
Identifier (““IMSI’), or an International Mobile Equipment Identity (“IMEI”). The
unique identifiers — as transmitted from a cellular device to a cellular antenna or
tower — can be recorded by pen-trap devices and indicate the identity of the cellular
device making the communication without revealing the communication’s content.
Subscriber Information

31. Based on my training and experience, I know that wireless providers
such as the Service Provider typically collect and retain information about their
subscribers in their normal course of business. This information can include basic
personal information about the subscriber, such as name and address, and the
method(s) of payment (such as credit card account number) provided by the
subscriber to pay for wireless communication service. I also know that wireless
providers such as the Service Provider typically collect and retain information about
their subscribers’ use of the wireless service, such as records about calls or other
communications sent or received by a particular device and other transactional
records, in their normal course of business. In my training and experience, this

information may constitute evidence of the crimes under investigation because the

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information can be used to identify the Target Cell Phones’ user or users and may
assist in the identification of co-conspirators and/or victims.
AUTHORIZATION REQUEST

32. Based on the foregoing, I request that the Court issue the proposed
warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure
41.

33. I further request that the Court direct the Service Provider to disclose
to the government any information described in Section I of Attachment B that is
within its possession, custody, or control.

34.  Ialso request that the Court direct the Service Provider to furnish the
government all information, facilities, and technical assistance necessary to
accomplish the collection of the information described in Attachment B
unobtrusively and with a minimum of interference with the Service Provider’s
services, including by initiating a signal to determine the location of Target Cell
Phone #1 and Target Cell Phone #2 on the Service Provider’s network or with
such other reference points as may be reasonably available, and at such intervals
and times directed by the government. The government shall reasonably
compensate the Service Provider for reasonable expenses incurred in furnishing
such facilities or assistance.

35. I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of
Criminal Procedure 41(f)(3), that the Court authorize the officer executing the

warrant to delay notice until 60 days “after the collection authorized by the warrant

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has been completed. There is reasonable cause to believe that providing immediate
notification of the warrant may have an adverse result, as defined in 18 U.S.C.

§ 2705. Providing immediate notice to the subscriber or user of Target Cell Phone
#1 and Target Cell Phone #2 would seriously jeopardize the ongoing
investigation, as such a disclosure would give that person an opportunity to destroy
evidence, change patterns of behavior, notify confederates, and flee from
prosecution. See 18 U.S.C. § 3103a(b)(1). As further specified in Attachment B,
which is incorporated into the warrant, the proposed search warrant does not
authorize the seizure of any tangible property. See 18 U.S.C. § 3103a(b)(2).
Moreover, to the extent that the warrant authorizes the seizure of any wire or
electronic communication (as defined in 18 U.S.C. § 2510) or any stored wire or
electronic information, there is reasonable necessity for the seizure for the reasons
set forth above. See 18 U.S.C. § 3103a(b)(2).

36. Because the warrant will be served on the Service Provider, who will
then compile the requested records at a time convenient to it, reasonable cause
exists to permit the execution of the requested warrant at any time in the day or
night. I further request that the Court authorize execution of the warrant at any
time of day or night, owing to the potential need to locate Target Cell Phone #1

and Target Cell Phone #2 outside of daytime hours.

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ATTACHMENT A
Property to Be Searched

1. Records and information associated with the cellular device assigned
(773) 569-9645 (referred to herein and in Attachment B as the “Target Cell
Phone #1”), with an unknown subscriber that is in the custody or control of Locus
Telecommunications, LLC (referred to herein and in Attachment B as the
“Provider”), a wireless communications service provider that is headquartered at
2200 Fletcher Avenue Suite 600, Fort Lee, NJ 07024.

2. Target Cell Phone #1 for prospective E-911/GPS Data latitude-

longitude information.

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ATTACHMENT B

Particular Things to be Seized

I. Information to be Disclosed by the Provider

To the extent that the information described in Attachment A is within the

possession, custody, or control of the Provider, including any information that

has been deleted but is still available to the Provider or that has been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), the Provider is required

to disclose to the government the following information pertaining to the

Account listed in Attachment A:

a. The following subscriber and historical information about the
customers or subscribers associated with the Target Cell Phone #1
and Target Cell Phone #2 for the time period January 9, 2020 to the
present:

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vi.

Names (including subscriber names, user names, and screen
names);

Addresses (including mailing addresses, residential addresses,
business addresses, and e-mail addresses);

Local and long distance telephone connection records;

Records of session times and durations, and the temporarily
assigned network addresses (such as Internet Protocol (“IP”)
addresses) associated with those sessions;

Length of service (including start date) and types of service
utilized;

Telephone or instrument numbers (including MAC addresses,
Electronic Serial Numbers (“ESN”), Mobile Electronic Identity
Numbers (“MEIN”), Mobile Equipment Identifier (“(MEID”);
Mobile Identification Number (“MIN”), Subscriber Identity
Modules (“SIM”), Mobile Subscriber Integrated Services Digital

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Network Number (““MSISDN”); International Mobile Subscriber
Identity Identifiers (“IMSI”), or International Mobile Equipment
Identities (“TMEIT’);

Other subscriber numbers or identities (including the
registration Internet Protocol (“IP”) address); and

Means and source of payment for such service (including any
credit card or bank account number) and billing records; and

All records and other information (not including the contents of
communications) relating to wire and electronic communications
sent or received by Target Cell Phone #1 and Target Cell
Phone #2, including:

(A) the date and time of the communication, the method of the
communication, and the source and destination of the
communication (such as the source and destination telephone
numbers (call detail records), email addresses, and IP
addresses); and

(ii) information regarding the cell tower and antenna face (also
known as “sectors” through which the communications were
sent and received), as well as per-call measurement data (also
known as “real-time tool” or “RTT.”

b. Information associated with each communication to and from Target
Cell Phone #1 and Target Cell Phone #2 for a period of 30 days
from the date of this warrant, including:

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IV.

Any unique identifiers associated with the cellular device,
including ESN, MEIN, MSISDN, IMSI, SIM, or MIN;

Source and destination telephone numbers;
Date, time, and duration of communication; and

All data about the cell towers (i.e. antenna towers covering
specific geographic areas) and sectors (i.e. faces of the towers) to
which the Target Cell Phones will connect at the beginning
and end of each communication, as well as per-call
measurement data (also known as “real-time tool” or “RTT.”

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The Court has also issued orders pursuant to 18 U.S.C. § 3123, dated
today, under the same docket number, for such information associated
with Target Cell Phone #1 and Target Cell Phone #2.

c. Information about the location of Target Cell Phone #1 and Target
Cell Phone #2 for a period of 30 days during all times of day and
night. “Information about the location of the Subject Phone” includes
all available E-911 Phase II data, GPS data, latitude-longitude data,
and other precise location information

i. To the extent that the information described in the previous
paragraph (hereinafter, “Location Information”) is within the
possession, custody, or control of the Provider, the Provider is
required to disclose the Location Information to the government.
In addition, the Provider must furnish the government all
information, facilities, and technical assistance necessary to
accomplish the collection of the Location Information
unobtrusively and with a minimum of interference with the
Provider’s services, including by initiating a signal to determine
the location of Target Cell Phone #1 and Target Cell Phone
#2 on the Provider’s network or with such other reference points
as may be reasonably available, and at such intervals and times
directed by the government. The government shall compensate
the Provider for reasonable expenses incurred in furnishing such
facilities or assistance.

ii. This warrant does not authorize the seizure of any tangible
property. In approving this warrant, the Court finds reasonable
necessity for the seizure of the Location Information. See 18
U.S.C. § 3103a(b)(2).

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II. Information to be Seized by the Government

All information described above in Section I that constitutes evidence of
violations of Title 21, United States Code, Section 841(1)(1) involving CURLEE J.
ASHFORD.

Law enforcement personnel (who may include, in addition to law enforcement
officers and agents, attorneys for the government, attorney support staff, agency
personnel assisting the government in this investigation, and outside technical
experts under government control) are authorized to review the records produced by

the Provider in order to locate the things particularly described in this Warrant.

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CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS
PURSUANT TO FEDERAL RULES OF EVIDENCE 902(11) AND 902(13)

I, , attest, under penalties of perjury by
the laws of the United States of America pursuant to 28 U.S.C. § 1746, that the
information contained in this certification is true and correct. I am employed by
Locus Telecommunications, LLC, and my title is . I
am qualified to authenticate the records attached hereto because I am familiar with
how the records were created, managed, stored, and retrieved. I state that the
records attached hereto are true duplicates of the original records in the custody of

Locus Telecommunications, LLC. The attached records consist of

 

I further state that:

a. all records attached to this certificate were made at or near the time of
the occurrence of the matter set forth by, or from information transmitted by, a
person with knowledge of those matters, they were kept in the ordinary course of
the regularly conducted business activity of Locus Telecommunications, LLC and
they were made by Locus Telecommunications, LLC as a regular practice; and

b. such records were generated by Locus Telecommunications, LLC’s
electronic process or system that produces an accurate result, to wit:

1. the records were copied from electronic device(s), storage

medium(s), or file(s) in the custody of Locus Telecommunications, LLC in a manner

to ensure that they are true duplicates of the original records; and

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2. the process or system is regularly verified by Locus
Telecommunications, LLC and at all times pertinent to the records certified here
the process and system functioned properly and normally.

I further state that this certification is intended to satisfy Rules 902(11) and

902(13) of the Federal Rules of Evidence.

 

Date Signature

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